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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
__________________________________________________________________
John Stephen Woodward,                   Civil File No. 18-cv-3263 (WMW/BRT)
             Plaintiff,


vs.                                    PLAINTIFF’S MEMORANDUM OF
                                       LAW IN OPPOPOSITON TO
                                       COMBINED MOTION FOR
                                       JUDGMENT ON THE PLEADINGS


Sam Azure, Robert Vogelsberg, Mark
Krenik, Thomas Jackson,
             Defendants.
__________________________________________________________________


                                 INTRODUCTION
      Plaintiff, John Woodward (Woodward) has brought a Complaint seeking

limited relief against Defendants in the form of production of certain information by

a “discovery plan” that relates to information collected by Defendants during the

local law enforcement investigation which resulted in a conviction for conspiracy to

commit murder in Rice County District Court. Plaintiff seeks discovery that was

unlawfully denied to him under the post-conviction statutes found in Minnesota

Statutes § 590.01 et seq. (2018).

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      Following the commencement of this action, Defendants Sam Azure (Azure),

Robert Vogelsberg (Vogelsberg) and Mark Krenik (Krenik) brought forth separate

Motions to Dismiss / Motions for Judgment on the Pleadings. This Memorandum

comes in opposition to all three of Defendants’ Motions, as they are brought upon

the same legal theories.

      For the reasons stated herein, Plaintiff’s Complaint should be allowed to move

forward.

                             STATEMENT OF FACTS

      Plaintiff agrees and incorporates the Statement of Facts set forth in the

Memorandum of Law submitted by Defendant Sam Azure. ECF Doc. 18 pp 2-3. In

addition to those facts, Plaintiff sets forth the following:

      Thomas Jackson was an inmate at MCF-Faribault where Plaintiff was also an

inmate. ECF Doc. 5, Complaint, Exhibit 5.1, p.2. Jackson had previous honesty

crime convictions, including a “Theft by Swindle” conviction in which the victim

was another inmate . Id. In 2010 Jackson had convinced Plaintiff to transfer

$2,500.00 from an outside account through the account of their mutual attorney,

allegedly for the purchase of a “truck.” However Jackson did not have a truck and

was, in fact running another swindle scheme with Plaintiff as the victim. Defendants

Krenik and Azure were directly involved in an investigation with Jackson, but they


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failed to make themselves aware of his criminal history, including the recent

conviction for theft by swindle. Id. Defendant Vogelsberg was directly involved

with Jackson in setting up and establishing a wiretap Jackson wore while working

with Plaintiff. The recording device had an on-off switch that Jackson had access to

wood. Id. at 8.

        Plaintiff’s Post-Conviction Petition was dismissed without an evidentiary

hearing. In dismissing the Petition, the Minnesota Court of Appeals highlighted that

“[Plaintiff] provided no proof that the audio is exculpatory outside of self-serving

statements in his affidavit, and he had ample opportunity to raise and explore the

issue but failed to do so.” . State v.Woodward, A18-0253 at p. 6 (Minn. Ct. App.

December 24, 2018); Doc.35-1, p.9. The Minnesota Court of Appeals did not,

however, explain how Plaintiff was supposed to raise and explore the issues when

no evidentiary hearing was granted.

                                  ARGUMENT

   I.      Defendant Vogelsberg’s Motion should be denied based upon the
           contents of his Answer.
   Defendant Vogelsberg has joined in this Motion. Vogelsberg has represented

himself since the commencement of the action, and has appeared on his behalf

before this Court as well as filed documents on his behalf.




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   Vogelsberg served and filed an Answer (characterized as a “Reply”) to Plaintiff’s

Complaint (characterized as in response to the “Summons”) along with a cover letter

and Affidavit of Service by Mail. ECF Doc. 6 with Attachments.

        Vogelsberg’s Answer stated plainly as follows:

1) I did not knowingly violate Plaintiff’s Civil Rights.

2) I am not opposed to being deposed by Plaintiff and in the interest of justice,

      will coordinate a date and time with Plaintiff’s attorney Chris Perske to be

      deposed.

Id.

        On April 4, 2019 Vogelsberg filed and served Motion Materials supporting a

Motion to Dismiss / Motion for Judgment on the Pleadings. ECF Docs 39-43. No

Amended Answer or other pleadings were filed or served by Vogelsberg.

        The plain and clear language of Vogelsberg’s Answer indicates that while he

denies the allegations against him, he did not raise any affirmative defense to the

requested relief – actually consenting to participate in a deposition with Plaintiff’s

counsel. Plaintiff is careful to note that Vogelsberg is pro se, and that pro se

pleadings should be construed liberally, but there is no language left to the




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    imagination in Vogelsberg’s Answer – he agreed to participate in the deposition.1

    That consent should be binding upon Vogelsberg and Plaintiff.

      II.     Standard of Review for a Rule 12 Motion to Dismiss.

      Defendants Azure and Vogelsberg have sought dismissal under “Rule 12” of

the Federal Rules of Civil Procedure, whereas Defendant Krenik has brought his

Motion under Rule 12(c ). Compare. ECF Docs 16, 39 with 32.




1
    It is important to note that the Court placed a stay on discovery, pending the pretrial

conference, by Order dated January 22, 2019 (ECF Doc.7) so Plaintiff and

Vogelsberg were and remain prohibited from conducting the agreed-upon

deposition. At the pretrial conference, Plaintiff’s counsel was invited by the Court

to request to lift the stay on discovery only in the event that there was discovery

needed to be conducted to oppose the Motion to Dismiss based upon the legal

theories set forth by defense counsel. Therefore, Plaintiff’s counsel is of the opinion

that requesting a lift of the stay to conduct Vogelsberg’s deposition would be an

abuse of the request process at this juncture, and so Plaintiff has not yet sought

permission to conduct the deposition.             Vogelsberg’s inferred opposition now

contained in his Motion to Dismiss materials now places Plaintiff in an unfair

position when the pleadings filed are inconsistent with one another.

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   The standard of review in a motion for judgment on the pleadings is the same as

that in a Rule 12(b)(6) motion to dismiss. NanoMech, Inc. v. Suresh, 777 F.3d 1020,

1023 (8th Cir. 2015). When evaluating a motion to dismiss under Rule 12(b)(6) or

for judgment on the pleadings under Rule 12(c), the Court assumes the facts in the

Complaint to be true and construes all reasonable inferences from those facts in the

light most favorable to the non-moving party. Morton v. Becker, 793 F.2d 185, 187

(8th Cir. 1986); see also Westcott v. City of Omaha, 901 F.2d 1486, 1488 (8th Cir.

1990) ("[W]e review this 12(c) motion under the standard that governs 12(b)(6)

motions.").

      Neither should dismissal be ordered because all of the elements that give rise

to a legal basis for recovery have not been stated. Bramlet v Wilson, 495 F2d 714

(8th Cir. 1974).

      A complaint should be read as a whole, not parsed piece by piece to determine

whether each allegation, in isolation, is plausible, as required to survive a motion to

dismiss for failure to state a claim. A claim is “facially plausible,” as would survive

motion to dismiss for failure to state a claim, where the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged. Wilson v. Arkansas Department of Human

Services, 850 F.3d 368 (8th Cir. 2017).



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      Under federal pleading standards, a plaintiff need only allege facts that permit

the reasonable inference that the defendant is liable, even if the complaint strikes a

savvy judge that actual proof of the facts alleged is improbable and recovery very

remote and unlikely. Hamilton v. Palm, 621 F.3d 816 (8th Cir. 2010).

      Here, Plaintiff, using the format for pleadings of §1983 claims identified for

current prisoners has set forth a significant number of facts regarding the physical

and technical information as well as the alleged actions and behavior of the

Defendants.

   III.   Plaintiff has set forth a cognizable claim under 42 U.S.C. §1983 and is

          not barred by Heck v. Humphrey.

      Plaintiff has alleged that state actors, under color of state law, have deprived

him of rights guaranteed by federal law.

      Plaintiff’s Complaint, on its face, is not seeking to challenge the fact of, or

length of his criminal conviction, nor monetary damages. See Amended Complaint,

ECF Doc. 5, p. 6. Therefore, under these circumstances, a claim under 42 U.S.C. §

1983 is appropriate rather than habeas corpus. Kruger v. Erickson, 77 F.3d 1071

(8th Cir. 1996). It is undisputed that at the time of the facts at issue, Plaintiff was

(and is) a prisoner at a Minnesota State Correctional Facility. It is, in part, those




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conditions in which he was placed that are under scrutiny and challenge in this

action.

          Moreover, at issue is the availability of information and evidence that Plaintiff

seeks post-conviction, but has been unable to obtain through the Minnesota State

Post-Conviction Process, Minnesota Statutes § 590.01 et seq.. In fact, as set forth in

Plaintiff’s Complaint, Plaintiff acknowledges that the Defendants (specifically

Vogelsberg) have not been deposed. ECF Doc. 5, pp. 4-5. Minnesota Statutes §

590.01 et seq contains no discovery mechanisms or discovery rights for those

seeking to operate under its purview.23



2
    It is anticipated that Defendants will inquire of Plaintiff as to the availability of

limited discovery by Petitioners under Habeas Corpus.               Notwithstanding the

argument that this case is properly brought under 42 U.S.C. § 1983, Plaintiff argues

that Discovery in that situation is discretionary and limited, placing the burden upon

the Petitioner to demonstrate its need and scope without a guarantee of a positive

result.

It is appropriate at this juncture in the memorandum that Plaintiff explains that his
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Complaint is not challenging the denial of the Post-Conviction Petition by the State

District Court, and as affirmed by the Minnesota Court of Appeals, however it is

rather the denial of the Petition without an evidentiary hearing which consequently

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      The availability of discovery as relief in 42 U.S.C. § 1983 claims was dealt

with by the United States Supreme Court in Skinner v. Switzer, 562 U.S. 521, 131

S. Ct. 1289 (2011). In that case, the United States Supreme Court held that a prisoner

could obtain DNA testing post-conviction. The Skinner Court reasoned that the

prisoner’s “[s]uccess in his suit for DNA testing would not ‘necessarily imply’ the

invalidity of his conviction.” While the Court recognized that test results might

prove exculpatory, that outcome, it concluded, was “hardly inevitable” as the results

might prove inconclusive or even be incriminating. And although the prisoner’s

“ultimate aim” was “to use the test results as a platform for attacking his conviction,”

the relief sought would “neither terminat[e] custody, accelerat[e] the future date of

release from custody, nor reduc[e] the level of custody.” Skinner v. Switzer, 562

U.S. 521, 131 S.Ct. 1289, 179 L.Ed. 2d 233 (2011).

      Like in Skinner, Plaintiff’s request for discovery in the form of audio/video

evidence and the depositions of those who created and handled it do not “necessarily

imply” the invalidity of the conviction. For example, it is explained by Plaintiff’s

expert Don Sazma, in the Complaint (See Doc 5, exhibit 1, p. 8) that Thomas

Jackson, the informant who made the audio recordings would have had the ability to



closed-the-door on Plaintiff’s ability to obtain testimony and evidence from the

Defendants.

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turn the recording device on and off. Plaintiff seeks the ability to have his experts

inspect the device in question, or question Defendants about the make and model

and their interaction with Jackson in the operation of the device. This type of

discovery has not been available to Defendant, and the power of this Court to compel

the production and inspection of this information and evidence is a fair use of § 1983,

particularly under Skinner.

      In full candor to this Court, Skinner identifies the limits of its application,

placing Brady violations on the opposite side of its holding. Skinner, 562 U.S. at

536. However, Plaintiff’s claims are not to be construed as Brady violations. The

basis for this argument is that the Minnesota Court of Appeals determined there were

no Brady violations, in that the court found that Plaintiff had not been able to

demonstrate that the 18 minutes of missing audio were, in fact, exculpatory, and it

was the positon of the Minnesota Court of Appeals that the full audio tapes had been

provided to Plaintiff’s counsel in advance of trial, so nothing was withheld. State

v.Woodward, A18-0253 at p.4 (Minn. Ct. App. December 24, 2018).

      This matter is not subject to Rooker-Feldman preclusion or estoppel.

   Defendants have argued that their Motions should be granted because the case is

subject to what is commonly known as the Rooker-Feldman doctrine, taken from the

two United States Supreme Court cases that comprise the name of the theory. See


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Docs 18 p. 7;34 p. 9, and 40 p.2. Defendants also argue that the doctrine of estoppel

precludes the case from moving forward. However these arguments do not hold

water.

         First, the Rooker-Feldman limitation on subject matter jurisdiction applies

only to federal actions commenced after state court proceedings have ended. It is

confined to cases “brought by state-court losers complaining of injuries caused by

state-court judgments rendered before the district court proceedings commenced and

inviting district court review and rejection of those judgments.” Exxon Mobil Corp.

v. Saudi Basic Indus. Corp. (2005) 544 US 280, 284, , 125 S.Ct. 1517, 1527 1521-

1522. Here, it is undisputed that this federal lawsuit was commenced on November

27, 2018, whereas the Minnesota Court of Appeals opinion did not come until

December 24, 2018. Plaintiff could not have been considered a state court “loser”

when he had not yet lost in state court upon commencement of the action.

         In addition, Rooker-Feldman does not prohibit a plaintiff from presenting a

generally applicable legal challenge to a state statute in federal court, even if that

statute has previously been applied against him or her in state court litigation. Thus,

a district court may adjudicate a challenge to the statute’s constitutionality even if it

cannot review a state court’s application of the statute to the plaintiff in a particular

case. Scheer v. Kelly 817 F3d 1183, 1186-1188 (9th Cir. 2016); Carter v. Burns,524

F3d 796, 798-799 (6th Cir. 2008); Doe v. Florida Bar 630 F3d 1336, 1341-1342


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(11th Cir. 2011) (plaintiff’s § 1983 action seeking recertification from Florida State

Bar barred by Rooker-Feldman as to as-applied constitutional challenge, but not as

to facial challenge); see also Skinner v. Switzer, 562 U.S. at 532 (explaining “a state-

court decision is not reviewable by lower federal courts, … a statute or rule

governing the decision may be challenged in a federal action”). As stated previously,

Plaintiff is challenging the lack of discovery options available at the district court at

the post-conviction level. Defendants’ estoppel argument fails for the same reasons

– this action simply is not being re-litigated as Defendants are arguing.




                                   CONCLUSION

For the reasons stated herein, Defendants’ Motion to Dismiss should be denied and

this case should proceed to a decision on the merits and Plaintiff should be granted

his requested discovery.



Dated: 4/25/19______________             s/Christopher J. Perske________________
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